
NOONAN, Circuit Judge,
concurring in part and dissenting in part:
I concur in the majority’s denial of Kulwant Kaur’s petition. Kaur admitted to the Immigration Judge that she lied. It is often impossible for asylum seekers to obtain documentary evidence. The integrity of our asylum system depends on asylum seekers’ truthfulness. It is not an abuse of discretion for the Board of Immigration Appeals to refuse to reopen Kaur’s case.
I do not join in the majority’s denial of Nirmal Singh’s petition — a denial of asylum to a husband because he did not stand up and expose the lies of his wife. The unity of husband and wife in today’s America is not so close that a wife speaks for a husband, nor that a husband adopts his wife’s words.
The record depicts Singh as a frightened and depressed man who unwittingly put his life in the hands of an unscrupulous attorney. The Indian police thrice arrested and tortured Singh. They killed Singh’s brother in a “false encounter” after the two brothers were arrested together during a protest. In his third arrest, the police beat him unconscious. Singh fled India.
Singh hired Randhir Kang to represent him in his asylum application filed shortly after his arrival in the United States. Kang has since been disbarred from practice in the immigration courts and this court based on his unethical and grossly inadequate representation of clients. In re Kang, D2005-184 (BIA April 11, 2006); In re Randhir S. Kang, Esq., No. 04-80059 (9th Cir. Nov. 28, 2005).
The Immigration Judge issued a single oral opinion covering both Singh and Kaur. The Immigration Judge found that the couple’s claims, “if credible, would form the basis for a grant of asylum,” but she denied both applications based on a single adverse credibility finding: “respondents’ testimony has been proven to be false and has been consciously incorrect.”
The majority holds that the Immigration Judge legitimately based her adverse credibility finding against Singh on statements made by Kaur. In Oliver Twist, when Mr. Bumble is informed that “the law supposes that your wife acts under your discretion,” he replies, “If that’s the eye of the law, the law is a bachelor; and the worst I wish the law is that his eye may be opened by *1183experience — by experience.” Experience in America establishes that a marital union does not dissolve the identities of the two spouses.
